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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 22-62201-CIV-DIMITROULEAS

   CARLOS T. HERNANDEZ STAUFERT,

                          Plaintiff,

   v.

   CYNTHIA LAWSON,
   DIRECTOR OF ICE Tae D Johnson,
   Michael W. Meade, et al.,

                          Defendants.

      RESPONDENTS’ MOTION TO DISMISS PETITIONER’S SECOND AMENDED
    PETITION FOR WRIT OF HABEAS CORPUS, FOR RELIEF UNDER 28 U.S.C § 2201
       AND FOR DAMAGES FOR DEPRIVATION OF RIGHTS UNDER COLOR OF
      FEDERAL AUTHORITY AND CIVIL CONSPIRACY UNDER 42 U.S.C. § 1985(3)

          COMES NOW, the Respondents, by and through the undersigned Assistant United States

   Attorney, and hereby files this Motion to Dismiss Petitioner’s Second Amended Petition for Writ

   of Habeas Corpus, For Relief Under 28 U.S.C. §2201 and For Damages For Deprivation of Rights

   under Color of Federal Authority and Civil Conspiracy Under 42 U.S.C. § 1985(3), which requests

   that this Honorable Court dismiss the Second Amended Petition for Writ of Habeas Corpus

   (“Petition”) pursuant to 28 U.S.C. § 2241 [D.E. 71] in its entirety. In support of its Motion, the

   Respondents submit the following:

                                           INTRODUCTION

          The Court should dismiss the Petition in its entirety for several reasons. First, Petitioner’s

   claim under Writ of Habeas Corpus is moot, as he is no longer “in custody.” Further, this Court

   lacks jurisdiction to declare Petitioner a United States Citizen or order his passport returned as the

   only proper mechanism for such relief is a claim under § 1503 and removal proceedings are still
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   pending. Additionally, the Bivens claim is not proper. Finally, the Petitioner’s claim of Conspiracy

   does not meet the plausibility standard under Rule 8 of the Federal Rules of Civil Procedure.

                                     FACTUAL BACKGROUND

          Carlos Tonatiuh Hernandez Staufert, also known as Carlos Tonatiuh Hernandez, Jr.

   (“Petitioner” or “Hernandez”) asserts that he is a citizen of the United States through a home birth

   in the United States, in Ogden, Utah. [D.E. 71 at ¶ 23]. A government investigation into

   Petitioner’s birth concluded that he was instead born in Mexico. Id. at ¶ 40.

          On September 18, 2022, U.S. Customs and Border Protection (“CBP”) officers served

   Royal Caribbean Cruise Line’s agent for Explorer of the Seas, which had arrived at the Port of

   Miami from Labadee, Haiti with a Notice to Present Petitioner to CBP at the Miami Seaport. [D.E.

   71 at ¶¶ 44-45]. CBP thereafter processed the Petitioner for expedited removal, issued a Notice of

   Referral to the Immigration Judge, and detained Petitioner for transfer to U.S. Immigration and

   Customs Enforcement (“ICE”) custody. [D.E. 71 at ¶ 45].

          On September 21, 2022, the U.S. Department of State (“DOS”) revoked Petitioner’s U.S.

   passport pursuant to 22 C.F.R. § 51.62(b), after it determined that Petitioner was not a U.S.

   national. [D.E. 71 at ¶ 47]. On the same date, the Department of Homeland Security (“DHS”)

   placed Petitioner in removal proceedings under 8 U.S.C. § 1229a and issued a Notice to Appear

   (“NTA”). Id. at ¶ 46. The NTA alleged that Petitioner is an arriving alien and charged him with

   inadmissibility pursuant to 8 U.S.C. § 1182(a)(6)(C)(i), as a noncitizen, who by fraud or willful

   misrepresentation of a material fact, procured a visa or other document, or admission into the

   United States or other benefit under the Act; under 8 U.S.C. § 1182(a)(6)(C)(ii), as a noncitizen

   who falsely represented himself to be a citizen of the United States for a purpose or benefit under
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   the IA or any other Federal or State law; and under 8 U.S.C. § 1182(a)(7)(A)(i)(I), as an applicant

   seeking admission without the required documents. Id.

          On October 18, 2022, the immigration judge found that DHS had not met its burden of

   proving alienage and issued an order terminating removal proceedings. [D.E. 71 at ¶ 58]. DHS

   filed a motion to reconsider based on newly discovered evidence, which the court denied on

   November 15, 2022. Id. at ¶ 69. On November 15, 2022, DHS appealed the immigration judge’s

   decision terminating removal proceedings to the Board of Immigration Appeals (“BIA”), the

   administrative appellate body having jurisdiction to review the matter, pursuant to 8 C.F.R. §

   1003.1(b). Id. at ¶ 70. On July 28, 2023, the BIA issued a decision vacating the immigration judge’s

   decision and remanding the case back to the immigration judge. See Exhibit A, BIA Decision.

          Petitioner is no longer in the custody of ICE. On November 17, 2022, ICE released

   Petitioner pursuant to an order of supervision pending appeal to the BIA. Id. at ¶ 73. On November

   29, 2022, ICE cancelled Petitioner’s enrollment in the Alternative to Detention program. [D.E. 44-

   1]. And on December 2, 2022, ICE issued a superseding Order of Release on Recognizance, which

   advised the Petitioner that he was no longer required to report. [D.E. 44-2]. DHS also advised

   Petitioner at that time that OREC was cancelled. Exhibit B, Declaration of Supervisory Detention

   and Deportation Officer Corey M. McMahon. On July 21, 2023, DHS served a corrected OREC

   form, with all restrictions lifted, indicating that OREC was revoked in its entirety. Id. at ¶ 10.

          On August 4, 2023, Petitioner filed a second amended petition for writ of habeas corpus.

   [D.E. 71].
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                                       STANDARD OF REVIEW

           I.         Dismissal Under Federal Rule of Civil Procedure 12(b)(1).

           A district court must dismiss an action if the court lacks jurisdiction over the subject matter

   of the suit. See Fed. R. Civ. P. 12(b)(1), 12(h)(3). Federal district courts are courts of limited

   jurisdiction: “[t]hey possess only that power authorized by the Constitution and statute, which is

   not to be expanded by judicial decree.” Kokkonen v. Guardia Life Ins. Co. of Am., 511 U.S. 375,

   377 (1994) (internal citations omitted). Accordingly, “[i]t is to be presumed that a cause lies

   outside this limited jurisdiction, and the burden of establishing the contrary rests upon the party

   asserting jurisdiction.” Id. (internal citation omitted). It is well-settled that the party invoking

   federal jurisdiction bears the burden of proving its existence. Steel Co. v. Citizens for a Better

   Env’t, 523 U.S. 83, 103-04 (1998); Underwriters at Lloyd’s, London v. Osting-Schwinn, 613 F.3d

   1079, 1085 (11th Cir. 2010) (“The party commencing suit in federal court . . . has the burden of

   establishing, by a preponderance of the evidence, facts supporting the existence of federal

   jurisdiction.”).

           A motion to dismiss for lack of subject-matter jurisdiction under Federal Rule of Civil

   Procedure 12(b)(1) may challenge jurisdiction either factually or facially. Makro Capital of Am.,

   Inc. v. UBS AG, 543 F.3d 1254, 1258 (11th Cir. 2008); McElmurray v. Consol. Gov’t of Augusta-

   Richmond Cnty., 501 F.3d 1244, 1251 (11th Cir. 2007). With respect to a facial challenge, the

   allegations in the complaint are assumed to be true by the court, which then must determine

   whether the complaint sufficiently alleges a basis for subject matter jurisdiction. Id. (citing

   Lawrence v. Dunbar, 919 F.2d 1525, 1529 (11th Cir. 1990)). And with respect to a factual

   challenge, a “district court [may] consider extrinsic evidence such as testimony and affidavits.”

   Hoban v. Sovereign Republic of Peru, 204 F. Supp. 3d 1368, 1370 (S.D. Fla. 2016). “Since [a
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   facial challenge] implicates the fundamental question of a trial court’s jurisdiction, a ‘trial court is

   free to weigh the evidence and satisfy itself as to the existence of its power to hear the case’ without

   presuming the truthfulness of the plaintiff’s allegations.” Makro Capital, 543 F.3d at 1258 (quoting

   Morrison v. Amway Corp., 323 F.3d at 925 (11th Cir. 2003)).

           II.     Dismissal Under Federal Rule of Civil Procedure 12(b)(6).

           A motion under Rule 12(b)(6) of the Federal Rules of Civil Procedure challenges the

   adequacy of a complaint on its face, testing whether a plaintiff has properly stated a claim. “While

   a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed factual

   allegations, a plaintiff’s obligation to provide the grounds of his entitle[ment] to relief requires

   more than labels and conclusions, and a formulaic recitation of the elements of a cause of action

   will not do.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (alteration in original)

   (citations and internal quotation marks omitted); Boles v. Riva, 565 Fed.Appx. 845, 846 (11th Cir.

   2014). “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

   accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.

   662, 678 (2009). Allegations of fact “must be enough to raise a right to relief above the speculative

   level … on an assumption that all the allegations in the complaint are true (even if doubtful in

   fact).” Twombly, 550 U.S. at 555.

           When presented with a Rule 12(b)(6) motion, a court begins by identifying pleadings that

   are no more than legal conclusions, and therefore, “are not entitled to the assumption of truth.”

   Iqbal, 556 U.S. at 679; see also Papasan v. Allain, 478 U.S. 265, 286 (1986) (courts are not “bound

   to accept as true a legal conclusion couched as a factual allegation.”). “When there are well-

   pleaded factual allegations, a court should assume their veracity and then determine whether they

   plausibly give rise to an entitlement to relief.” Iqbal, 556 U.S. at 679. “A claim has facial
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   plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

   inference that the defendant is liable for the misconduct alleged.” Id. at 678. Ultimately, the

   plaintiff’s complaint must allege facts to “nudge[] [his] claims across the line from conceivable to

   plausible…” Twombly, 550 U.S. at 547.

                                             ARGUMENT

          I.      THE HABEAS PETITION SHOULD BE DENIED AS MOOT

          The case-or-controversy requirement of Article III, 2 of the United States Constitution

   applies through all stages of federal litigation. See Spencer v. Kemna, 523 U.S. 1, 7 (1998) (stating

   the parties “must continue to have a ‘personal stake in the outcome’ of the lawsuit” to meet the

   case-or-controversy requirements of Article II). For a matter to be justiciable, a petitioner must

   have suffered, or been threatened with, an actual injury traceable to the respondent. Moreover, it

   must be likely that a favorable judicial decision would redress that injury. See Lewis v. Continental

   Bank Corp., 494 U.S. 472, 477 (1990).

          As this Court is aware, the Petitioner was released from detention on November 17, 2022,

   and enrolled in the Alternative to Detention program, requiring him to wear an ankle monitor.

   [D.E. 52 at p. 4.] Thereafter, ICE cancelled the Petitioner’s enrollment in the Alternative to

   Detention Program on November 29, 2022, and the ankle monitor was removed. [D.E. 44-1]. On

   December 2, 2022, ICE issued a superseding Order of Release on Recognizance, advising

   Petitioner that he was no longer subject to reporting requirements. [D.E. 44-2]. At that time,

   Petitioner was also informed that his OREC was cancelled. Exhibit B, at ¶ 7. On July 21, 2023, a

   corrected OREC form, with all requirement/conditions unchecked, was issued to Petitioner’s

   counsel, reflecting that OREC was revoked in its entirety. See Exhibit C, corrected OREC form.

   In light of the fact that Petitioner is no longer detained, nor subject to reporting or any other
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   requirements, there remains no injury for the Court to redress; when there is nothing for the Court

   to remedy, the case is moot. See Spencer, 523 U.S. at 17.

          The Petitioner sought release from his remaining requirements under OREC via his Second

   Amended Petition on August 4, 2023, however, Petitioner has been free of such requirements since

   December 2, 2022. See Exhibit B. Even if Petitioner argues that he was still subject to OREC

   because of the boxes checked on his OREC form, a corrected form with no boxes checked was

   issued on July 21, 2023. See Exhibit C. Therefore, the controversy over which the Court could

   arguably exercise subject matter jurisdiction for a habeas case is moot. See Hernandez Rodriguez

   v. U.S. Atty. Gen., No. 19-CV-21647, 2019 WL 2231219, at *2 (S.D. Fla. May 23, 2019)

   (dismissing habeas case as moot following notification that petitioner has been released); Ibarra

   v. Warden, Stewart Det. Ctr., No. 18-CV-167-CDL-MSH, 2019 WL 2271771 *9 (M.D. Ga. March

   27, 2019) (dismissing case as moot after petitioner was released).

          Where, as here, the issue that Petitioner complains of is moot, the Court lacks jurisdiction

   to address the matter. See generally, Nat’l Adver. Co. v. City of Miami, 402 F.3d 1329, 1332 (11th

   Cir. 2005) (a moot action cannot present an Article III case or controversy and the federal courts

   lack subject matter jurisdiction to entertain it); Granite State Outdoor Advertising, Inc. City of

   Clearwater, Florida, 351 F.3d 1112 (11th Cir. 2003) (finding no jurisdiction where a party lacks

   standing under Article III).

          II.     THE COURT LACKS JURISDICTION                            OVER       PETITIONER’S
                  DECLARATION OF CITIZENSHIP CLAIM

                  A. 8 U.S.C. § 1503

          This Court has already addressed the fact that the Declaratory Judgment Act is procedural

   only and does not create remedies otherwise unavailable to the plaintiff. [D.E. 52 at p. 27] (quoting

   Household Bank v. JFS Group, 320 F.3d 1249, 1253 (11th Cir. 2003) (internal quotations omitted);
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   see also Bolin v. Sears, Roebuck & Co., 231 F.3d 970, 977 (5th Cir. 2000). This Court also

   recognized that that 8 U.S.C. § 1503(a) is “the proper remedy by which one may seek relief for a

   denial of a right or privilege of United States citizenship, including a judicial declaration of

   citizenship under the DJA and the return of a United States passport.” [D.E. 52 at p. 27], citing

   Cambranis v. Blinken, 994 F.3d 457, 466 (5th Cir. 2021) (“Congress intended § 1503(a) to be the

   exclusive remedy for a person within the United States to seek a declaration of U.S. nationality

   following an agency or department’s denial of a privilege or right of citizenship upon the ground

   that the person is not a U.S. national.”); Marquez v. Pompeo, No. 20-CV-3225 (TSC), 2022 WL

   43492, at *5 (D.D.C. Jan. 5, 2022) (“[C]ourts have consistently held that § 1503(a) is not simply

   a permissive remedy; rather, when a person within the United States seeks to challenge the

   Secretary of State’s citizenship decision or the denial or revocation of a passport, they must do so

   under section § 1503(a).”); Kiviti v. Pompeo, 467 F.Supp. 3d 293, 315 (D.Md. 2020) (“[W]hen

   plaintiffs challenge the State Department’s ‘deprivation of U.S. passports on the allegedly

   erroneous conclusion that they are not citizens,’ courts have consistently concluded that § 1503(a)

   provides ‘an adequate alternative remedy’ to APA review.”). Although Petitioner attempts to

   avoid the jurisdiction-stripping provision of 8 U.S.C. § 1503 by opting not to bring a claim

   pursuant to that cause of action, in his Second Amended Complaint Plaintiff again “fails to

   meaningfully distinguish the relief he seeks from the relief offered by Section 1503(a)” [D.E. 52

   at 28]; [D.E. 71 at ¶ 91].

           Further, as this Court has already noted, “the issue of Plaintiff’s citizenship and the

   revocation of his United States passport arose in connection with removal proceedings against

   him.” [D.E. 52 at p. 28]. 8 U.S.C. § 1503(a)(1) makes clear that “no such action may be instituted

   in any case if the issue of such person’s status as a national of the United States (1) arose by reason
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   of, or in connection with any removal proceeding under the provisions of this chapter or any other

   act.” 8 U.S.C. § 1503(a)(1) (emphasis added); Rios-Valenzuela v. Dep’t of Homeland Sec., 506

   F.3d 393, 398 (5th Cir. 2007) (finding no jurisdiction over a § 1503 claim where the issue of

   citizenship that formed the basis of the claim originated, at the least, in connection with removal

   proceedings).

          Additionally, 8 U.S.C. § 1503(a)(2) provides a second, important limitation to claims under

   § 1503. It provides that “no [declaratory judgment] action may be instituted in any case if the issue

   of such person’s status as a national of the United States … is in issue in any such removal

   proceeding.” 8 U.S.C. § 1503(a)(2). On July 28, 2023, the BIA vacated the immigration judge’s

   order and remanded the case back to the immigration judge for further proceedings. See Exhibit

   A. 1 As such, removal proceedings are currently pending and the issue of the Petitioner’s status as

   a national of the United States is directly at issue in the removal proceedings. Therefore, the

   limitation under § 1503(a)(2) applies to this case, as the question of Petitioner’s status is currently

   at issue in removal proceedings.

                   B. 1252(g)

          In its July 5 Order, the Court found that 8 U.S.C. § 1252(g) was inapplicable because it

   found Plaintiff to not be an alien, citing the immigration judge’s October 18, 2022 order that DHS

   had not met its burden of proving alienage. [D.E. 52 at p. 25] (rejecting Defendants’ jurisdiction

   stripping argument “at this juncture” as “Defendants do not argue that Plaintiff is an alien, nor is

   there any indication of same”). However, on July 28, 2023, the BIA vacated the immigration

   judge’s October 18, 2022 order and remanded the case for further proceedings. See Exhibit A. As




   1
    Petitioner has since filed a Motion for Reconsideration with the Board of Immigration Appeals
   which is currently pending.
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   such, there is no order that DHS has not met its burden, nor is there an order determining that the

   Petitioner is a United States citizen in effect. To the contrary, Respondents assert that Petitioner is

   an alien, not a United States citizen, as indicated in the Notice to Appear issued to Petitioner in

   September 2022, and the issue of Petitioner’s alienage has been remanded to the immigration court

   for resolution.

          Because any finding of citizenship has been vacated, and Petitioner has been charged as a

   noncitizen and is challenging the Respondents’ decision to commence immigration court

   proceedings, Plaintiffs claims now fall within the purview of § 1252(g), which divests jurisdiction

   over petitioner’s claims.

          8 U.S.C. § 1252(g) states that “no court shall have jurisdiction to hear any cause or claim

   by or on behalf of any alien arising from the decision or action by the Attorney General to

   commence proceedings, adjudicate cases, or execute removal orders against any alien under this

   chapter. Petitioner argues that the Respondents wrongfully investigated, arrested, detained,

   charged, and placed the Petitioner in removal proceedings. [D.E. 71 at ¶ 102]. As demonstrated

   by the commencement of removal proceedings, Respondents take the position that Petitioner is an

   alien pursuant to 8 U.S.C. § 1252(g) and this Court lacks jurisdiction over Petitioner’s Second

   Amended Petition.

          The Eleventh Circuit has addressed the applicability of 8 U.S.C. § 1252(g) in a number of

   cases that mirror the factual circumstances here. In Gupta v. McGahey, the court considered

   whether a district court lacked jurisdiction to consider an alien’s challenge under Bivens, to the

   constitutionality of his arrest and detention by immigration agents … related to the initiation of

   removal proceedings against him. Gupta v. McGahey, 709 F.3d 1062, 1063-64 (11th Cir. 2013).

   The court concluded that the district court lacked jurisdiction under § 1252(g) to consider those
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   claims, as they pertained to actions taken to secure him pending a final removal determination. Id.

   at 1065.

          Additionally, in De La Teja v. United States, the Eleventh Circuit considered whether a

   district court lacked jurisdiction under § 1252(g) to consider an alien’s habeas corpus challenge

   under 28 U.S.C. § 2241 to the immigration agency’s initiation of removal proceedings against

   him… The court concluded that the district court lacked jurisdiction under § 1252(g) to consider

   the claim, as it challenged the agency’s “decision” to “commence proceedings”. De La Teja v.

   United States, 321 F.3d 1357 (11th Cir. 2003). A plaintiff’s allegation that he or she is a U.S.

   citizen is insufficient to avoid the jurisdiction stripping provision of 8 U.S.C. § 1252(g).

   Otherwise, any individual in removal proceedings could avoid 8 U.S.C. § 1252(g) and engage in

   federal litigation simply by including a pleading that they are a U.S. citizen in their Complaint.

          III.    COUNT THREE OF THE SECOND AMENDED PETITION HAS
                  ALREADY BEEN DEEMED BY THIS COURT AS NOT RIPE FOR
                  REVIEW

          Petitioner asserts a claim for relief under 28 U.S.C. § 2201 asking this Court to reinstate

   the Petitioner’s U.S. Birth Certificate and Texas Driver’s license. Petitioner has failed to provide

   any evidence that either the Birth Certificate or Driver’s license has actually been revoked. Rather,

   Petitioner is asking the Court to address something that has not happened yet. Further, this Court

   has already addressed this issue sua sponte in its Order dated July 5, 2023. [D.E. 52]. Petitioner

   amended his Petition to attach the routine letters sent by the Department of State to the State of

   Utah Department of Vital Statistics, and the State of Texas Department of Motor Vehicles, but has

   no provided no evidence that any action was taken after those letters were sent. As this Court

   pointed out, a “claim is not ripe for adjudication if it rests upon ‘contingent future events that may

   not occur as anticipated, or indeed may not occur at all.’” Id; see Texas v. United States, 523 U.S.
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   296, 300 (1998) (quoting Thomas v. Union Carbide Agricultural Products Co., 473 U.S. 568, 58-

   581 (1985)). As the Petitioner has provided no evidence that either his birth certificate or driver’s

   license has actually been revoked, such claim is not ripe for review and must be dismissed.

          IV.     NO BIVENS REMEDY IS AVAILABLE IN THIS CASE

          Petitioner attempts to bring a Bivens action against Nelson Perez (Chief Counsel, Office of

   the Principal Legal Advisor, Miami Field Office), Eric Aurelias (Deputy Chief Counsel, Office of

   the Principal Legal Advisor, Miami), Carlos Lopez (Deputy Chief Counsel, Office of the Principal

   Legal Advisor, Miami), Evagelia Solomos (Assistant Chief Counsel, Office of the Principal Legal

   Advisor, Miami), Mitchell Diaz (Assistant Field Office Director, Enforcement and Removal

   Operations, Miami), Authur McLaughlin (Deportation Officer, Enforcement and Removal

   Operations, Miami) and Teddy Thomas Towner, III (Special Agent, U.S. Department of State,

   Diplomatic Security Service). Petitioner is alleging violations of his fourth, fifth, and sixth

   amendment rights, related to the detention and commencement of removal proceedings against the

   Petitioner. [D.E. 71 at ¶ 108]

          In Bivens v. Six Unknown Fed. Narcotics Agents, 403 U.S. 388 (1971), the Supreme Court

   authorized a damages action against federal officials for alleged violations of the Fourth

   Amendment. The court recognized two further causes of action under Bivens, first, for a former

   congressional staffer’s Fifth Amendment sex-discrimination claim, see Davis v. Passman, 442

   U.S. 228 (1979) and second, for a federal prisoner’s inadequate-care claim under the Eighth

   Amendment, see Carlson v. Green, 446 U.S. 14 (1980). Since these cases, the Court has not

   implied additional causes of action under the Constitution. See Egbert v. Boule, 142 S. Ct. 1793

   (2022). In fact, the Supreme Court has emphasized in recent years that recognizing a cause of

   action under Bivens is “a disfavored judicial activity.” Ziglar v. Abbasi, 582 U.S. 120 (2017).
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          When analyzing a proposed Bivens claim, the court has framed the inquiry as proceeding

   in two steps: (1) does the case present a “new Bivens context”— is it “meaningfully” different

   from the three cases in which the Court has implied a damages action; and (2) if the claim arises

   in a new context, a Bivens remedy is unavailable if there are “special factors” indicating that the

   Judiciary is at least arguably less equipped than Congress to “weigh the costs and benefits of

   allowing a damages action to proceed.” Id. (internal quotation marks omitted). As the Court noted

   in Egbert, these two steps “often resolve to a single question: whether there is any reason to think

   that Congress might be better equipped to create a damages remedy.” 142 S. Ct. at 1803. Under

   the Egbert test, a court should dismiss a Bivens claim if “there is any rational reason (even one) to

   think that Congress is better suited to ‘weigh the costs and benefits of allowing a damages action

   to proceed.’” Id. at 1805 (quoting Abbasi, 137 S. Ct. at 1858).

          In Egbert, the Supreme Court cautioned that extending the Bivens remedy beyond the

   original facts of Bivens would be an exceedingly rare result. There, the Court determined the

   plaintiff’s claims arose in a new context even though the case involved “similar allegations of

   excessive force” and “almost parallel circumstances” to those alleged in Bivens. Egbert, 142 S. Ct.

   at 1804–05. Petitioner’s Bivens claims here also involve a new context and a new category of

   defendants.

          The Eleventh Circuit directly addressed for the first time whether to imply a Bivens remedy

   in the immigration context in Alvarez v. U.S. Immigration and Customs Enforcement, 818 F.3d

   1194 (11th Cir. 2016). In Alvarez, the court held that the plaintiff “cannot recover damages under

   Bivens for constitutional violations that caused him to endure prolonged immigration detention.”

   Id. To support its decision, the court elaborated that “[t]he Immigration and Nationality Act is ‘an

   elaborate remedial system that has been constructed step by step, with careful attention to
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   conflicting policy considerations.’” Id. (citing Bush v. Lucas, 462 U.S. 367 (1983)). The court went

   further to discuss the fact that detained aliens can seek a petition for writ of habeas corpus to

   challenge detention and that the availability of habeas relief, when paired with a detailed regulatory

   scheme constitutes special factors counseling against recognizing a new Bivens cause of action.

   Id. (citing Rauschenberg v. Williamson, 785 F.2d 985, 987-88 (11th Cir. 1986)).

          The Court in Alvarez did a deep dive into the statutory scheme of the Immigration and

   Nationality Act and found that Congress has amended the Act on no less than seven occasions.

   Alvarez, 818 F.3d, at 1210. The Eleventh Circuit found that given the “frequent attention that the

   legislature has given to the complex scheme governing removal and its review procedures over

   many years, we are satisfied that Congress has weighed the policy considerations in favor of and

   against providing damages.” Id.; see Schweiker v. Chilicky, 487 U.S. 412 (1988) (explaining that

   because “[c]ongressional attention… has… been frequent and intense” and “[a]t each step,

   Congress chose specific forms and levels of protection for the rights of persons affected” it was

   clear that the failure to provide for damages was intentional). The Court concluded that the

   “complexity of the Immigration and Nationality Act, and Congress’s frequent amendments to it,

   suggest that no Bivens remedy is warranted.” Id.

          The Court concluded special factors exist that would counsel hesitation in the immigration

   context. First, the court recognized the “breadth and detail of the Immigration and Nationality Act

   itself counsels in favor of hesitation.” Id. (citing Mirmehdi v. U.S., 689 F.3d 975 (9th Cir. 2012)).

   As the Supreme Court has cautioned, “[w]hen the design of a Government program suggests that

   Congress has provided what it considers adequate remedial mechanisms for constitutional

   violations that may occur in the course of its administration,” thus constitutes a “special factor [ ]

   counseling hesitation.” Schweiker, 487 U.S. at 423. Another important special factor recognized
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   by the Eleventh Circuit in the immigration context is the “importance of demonstrating due respect

   for the Constitution’s separation of powers.” Alvarez, 818 F.3d at 1211. “The Constitution gives

   Congress the power to ‘establish a uniform Rule of Naturalization,’” De La Paz, 786 F.3d at 379

   (quoting U.S. Const., art. I, § 8, cl. 4), and the Executive possesses “inherent power as sovereign

   to control and conduct relations with foreign nations,” id. (quoting Arizona v. U.S., 567 U.S. 387

   (2012); see also Arar v. Ashcroft, 585 F.3d 559 (2nd Cir. 2009) (“The Supreme Court has expressly

   counseled that matters touching upon foreign policy and national security fall within ‘an area of

   executive action in which courts have long been hesitant to intrude’ absent congressional

   authorization.” (quoting Lincoln v. Vigil, 508 U.S. 182 (1993)). As the Eleventh Circuit has

   recognized, “[t]hese branches are generally better ‘situated to consider sensitive foreign policy

   issues’ that immigration cases may implicate, and involvement of the courts into their domain can

   in some instances ‘undermine the Government’s ability to speak with one voice in this area.’”

   Alvarez, 818 F.3d at 1211 (quoting Munaf v. Geren, 553 U.S. 674 (2008)); see also Mirmehdi, 689

   F.3d at 982-83 (noting that “immigration issues ‘have a natural tendency to affect diplomacy,

   foreign policy, and the security of the nation,’” and may involve “the disclosure of foreign policy

   objectives” (quoting Arar, 585 F.3d at 574, and AADC, 525 U.S. at 490)).

          The Supreme Court has also declined to extend Bivens causes of action into the

   immigration and boarder control context. In Hernández v. Mesa, 140 S. Ct. 735 (2020), the

   Supreme Court declined to create a damages remedy for an excessive force claim against a Border

   Patrol agent who shot and killed a Mexican national across the border. The Court concluded that

   “regulating the conduct of agents at the border unquestionably has national security implications,”

   such that the “risk of undermining border security provides reason to hesitate before extending

   Bivens into this field.” Id. at 747. In Egbert, the Supreme Court found that the plaintiff’s ability to
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   file a grievance with a Border Patrol agent’s employing agency was enough to foreclose extending

   Bivens relief. The Court explained that “[s]o long as Congress or the Executive has created a

   remedial process that it finds sufficient to secure an adequate level of deterrence, the courts cannot

   second-guess that calibration by superimposing a Bivens remedy.” 142 S. Ct. at 1807. That is “true

   even if a court independently concludes that the Government’s procedures are ‘not as effective as

   an individual damages remedy.’” Id. (quoting Bush v. Lucas, 462 U.S. 367, 372 (1983)).

          Petitioner is attempting to bring Bivens claims for violation of his Fourth, Fifth and Sixth

   Amendment rights against employees of the Department of Homeland Security and the

   Department of State, for actions taken in connection with Petitioner’s removal proceedings. [D.E.

   71 at ¶¶ 106-109]. As discussed above, the Eleventh Circuit has already addressed the idea of

   creating a new Bivens context in the immigration setting and has rejected such claims. See Alvarez

   v. U.S. Immigration and Customs Enforcement, 818 F.3d 1194 (2016). Because Plaintiffs’ claims

   arise out of immigration enforcement activities at an international border, they necessarily

   implicate national security and foreign affairs. Hernández, 140 S. Ct. at 746. Additionally, the

   Supreme Court concluded that courts are not “competent to authorize a damages action . . . against

   Border Patrol agents generally.” Egbert, 142 S. Ct. at 1806. The Bivens claim that Petitioner is

   attempting to bring in this case would create a new Bivens context, and there are significant special

   factors that would counsel against creating such, as addressed by the Eleventh Circuit and

   discussed more fully above. As such, Count Five of Second Amended Petition should be dismissed

   with prejudice.
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           V.      PETITIONER FAILS TO STATE A CONSPIRACY CLAIM, AND IN THE
                   ALTERNATIVE, THE CLAIM SHOULD BE DISMISSED BECAUSE
                   RESPONDENTS ARE ENTITLED TO QUALIFIED IMMUNITY.

           To state a claim for conspiracy under § 1985(3), a plaintiff must allege “(1) a conspiracy;

   (2) for the purpose of depriving a person or class of persons of the equal protection of the laws, or

   of equal privileges and immunities under the laws; and (3) and act in furtherance of the conspiracy,

   (4) resulting in an injury to person or property, or a deprivation of any right or privilege of a citizen

   of the United States.” Kivisto v. Miller, Canfield, Paddock & Stone, PLC, 413 Fed.Appx. 136, 140

   (11th Cir.2011) (citing Childree v. UAP/GA AG CHEM, Inc., 92 F.3d 1140, 1146–47 (11th

   Cir.1996)), cert. denied, ––– U.S. ––––, 132 S.Ct. 577, 181 L.Ed.2d 441 (2011). The Eleventh

   Circuit has held that “conclusory, vague, and general allegations of conspiracy may justify

   dismissal of a complaint.” Kearson v. S. Bell Tel. & Tel. Co., 763 F.2d 405, 407 (11th Cir. 1985).

   Additionally, to satisfy the second element, the plaintiff must allege that the conspirators were

   motivated by “racial, or otherwise class-based, invidiously discriminatory intent.” Almon v.

   Sandlin, 603 F.2d 503, 505 (5th Cir. 1979); see also Griffin v. Breckenridge, 403 U.S. 88, 102

   (1971); Lucero v. Operation Rescue of Birmingham, 954 F.2d 624, 628 (11th Cir. 1992).

           Petitioner in this case has made no factual allegations which would support an inference

   that Respondents conspired or agreed among themselves or with someone or failed to stop others

   from conspiring against him. See Mickens v. Tenth Judicial Circuit, 1818 Fed.Appx. 865, 876 (11th

   Cir. 2006) (because plaintiff failed to allege with specificity an agreement between defendants to

   deprive plaintiffs of their rights, § 1985(3) claim was due to be dismissed); Montford v. Moreno,

   No. 04-12909, 2005 WL 1369563, at *7 (11th Cir. June 9, 2005) (complaint alleged only

   conclusory allegations of conspiracy and failed to allege any evidence that defendants reached an

   understanding to violate plaintiff’s rights, warranting dismissal of § 1985(3) claim). Further,
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   Petitioner does not allege any facts whatsoever that any of the events at issue were in anyway

   motivated by racial animus. As such, the Conspiracy claim in the Second Amended Complaint is

   insufficient to state a plausible claim for relief and must be dismissed.

           Respondents are also entitled to qualified immunity on Petitioner’s § 1985 claims because

   Respondents “reasonably might not have known that their planning could be labeled a conspiracy

   under [Section 1985(3)].” K.O. v. U.S. Immigration and Customs Enforcement, 468 F.Supp.3d 350

   (D.C. June 23, 2020). Petitioner’s § 1985 claims fail because they do not allege any conspiracy

   between legally distinct persons. Rather, Petitioner alleges that Executive Branch officials worked

   together to deprive him of his rights. As Abbasi explained, “[u]nder this principle – sometimes

   called the intracorporate-conspiracy doctrine – an agreement between or among agents of the same

   legal entity, when the agents act in their official capacities, is not an unlawful conspiracy.” Abbasi,

   137 S. Ct. at 1867. This doctrine is “derived from the nature of the conspiracy prohibition,” which

   requires an agreement between “two or more separate persons.” Id. But “[w]hen two agents of the

   same legal entity make an agreement in the course of their official duties . . . as a practical and

   legal matter their acts are attributed to their principal. And it then follows that there has not been

   an agreement between two or more separate people.” Id.; see Copperweld Corp. v. Indep. Tube

   Corp., 467 U.S. 752, 771 (1984) (“[N]ot unlike a multiple team of horses drawing a vehicle under

   the control of a single driver.”).

           Drawing on these principles, Abbasi discussed the viability of a Section 1985(3) claim

   against multiple “Executive Branch” officials for discussions that “were the preface to, and the

   outline of, a general and far-reaching policy.” 137 S. Ct. at 1867. Although the Court declined to

   decide on the applicability of intracorporate-conspiracy doctrine with reference to Section 1985(3)

   conspiracies, the Court found the law was “sufficiently open” that the government employees were
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   entitled to qualified immunity. Id. at 1868–69; accord Fazaga v. Fed. Bureau of Investigation, 965

   F.3d 1015, 1060 (9th Cir. 2020) (holding that FBI agents were entitled to qualified immunity

   against liability against a Section 1985(3) claim). Just as in Abbasi, many of the Respondents here

   work or worked in the same agencies, and all Respondents worked for the same branch of

   government, raising similar intracorporate-conspiracy issues. See K.O., 2020 WL 3429697, at *13

   (“If the intracorporate-conspiracy doctrine can apply to civil rights claims—and Abbasi states that

   it might be able to—there is little reason to think its reach would stop at cross-department

   communications within the scope of federal officers’ official duties.”). As with the “team of

   horses” analogy mentioned in Abbasi, executive agencies and departments all work together under

   the leadership of the White House and, ultimately, the President. See Seila Law LLC v. Consumer

   Fin. Prot. Bureau, 140 S. Ct. 2183, 2203 (2020) (“[I]ndividual executive officials . . . wield

   significant authority, but that authority remains subject to the ongoing supervision and control of

   the elected President.”). Because the law on this point is no clearer now than it was at the time

   Abbasi was decided, Respondents are entitled to qualified immunity.

                                                CONCLUSION

          For the foregoing reasons, this Court should dismiss the Second Amended Petition in full.

                                 CERTIFICATE OF CONFERRAL

          Pursuant to Local Rule 7.1 and this Court’s Order [D.E. 76], the undersigned certifies that

   the undersigned has conferred with Petitioner’s counsel on August 4, 2023 via telephone, and that

   the Parties were unable to resolve the dispute.

                                                        Respectfully submitted,

                                                        MARKENZY LAPOINTE
                                                        United States Attorney

                                                        By: /s/ Kelsi R. Romero
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